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 1    ROB BONTA
      Attorney General of California
 2    DAVID A. ZONANA, State Bar No. 196029
      DAVID G. ALDERSON, State Bar No. 231597
 3    Supervising Deputy Attorneys General
      GEORGE TORGUN, State Bar No. 222085
 4    TARA MUELLER, State Bar No. 161536
      Deputy Attorneys General
 5     1515 Clay Street, 20th Floor
       P.O. Box 70550
 6     Oakland, CA 94612-0550
       Telephone: (510) 879-1002
 7     Fax: (510) 622-2270
       E-mail: George.Torgun@doj.ca.gov
 8
      Attorneys for Plaintiff State of California
 9
     [Additional counsel listed on signature page]
10
                            IN THE UNITED STATES DISTRICT COURT
11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                   OAKLAND DIVISION

13
     STATE OF CALIFORNIA, et al.,                    Case No. 4:19-cv-06013-JST
14
                            Plaintiffs,
                                                     Related Cases: No. 4:19-cv-05206-JST
15          v.                                                      No. 4:19-cv-06812-JST
16   HAALAND, et al.,
                                                     PLAINTIFFS’ NOTICE OF CHANGED
                            Defendants,              POSITION
17

18          and
     STATE OF ALABAMA, et al.,
19
                            Defendant-Intervenors.
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     PLAINTIFFS’ NOTICE OF CHANGED POSITION
     Case No. 4:19-cv-06013-JST
                Case 4:19-cv-06013-JST Document 227 Filed 10/14/22 Page 2 of 5




 1          In light of the Court’s October 13, 2022 order cancelling the hearing on the pending

 2   Motion for Stay (ECF 171) and Rule 59(e) Motion to Alter or Amend Judgment (ECF 180),1

 3   Plaintiffs file this notice pursuant to Local Rule 7-3(d)(2) to bring the Court’s attention to a
 4   change in their position as to the Stay Motion given the Ninth Circuit’s September 21, 2022 Writ
 5   of Mandamus Order, which was issued after the close of briefing on the pending motions.
 6   Plaintiffs had intended to orally inform the Court of this change, but now submit this notice
 7   instead.
 8          Plaintiffs’ position on Defendant-Intervenors’ Stay Motion has been overtaken by
 9   subsequent events. Specifically, the Ninth Circuit’s Mandamus Order staying this Court’s July 5
10   Order pending its consideration of Plaintiffs’ Rule 59(e) Motion has rendered the Stay Motion
11   moot at the present time. Defendant-Intervenors’ Stay Motion would remain moot if the Court
12   grants Plaintiffs’ Rule 59(e) Motion, and either rules on the merits of Plaintiffs’ claims under the
13   National Environmental Policy Act (“NEPA”) or, in the alternative, determines to recommence
14   the paused summary judgment briefing schedule on all claims. The Stay Motion also would be
15   moot if the Court modifies its July 5 Order to remand these cases without vacatur—a course that,
16   Plaintiffs submit, would be unjust and inequitable given the substantial prejudice to Plaintiffs.
17          Moreover, given the Ninth Circuit’s Mandamus Order finding that the July 5 Order
18   contained clear error, some modification of the July 5 Order seems necessary. Plaintiffs’
19   requested remedies—resolving Plaintiffs’ NEPA claims now or re-initiating summary judgment
20   briefing—offer a path forward. Were the Court to deny Plaintiffs’ Rule 59(e) Motion and re-
21   affirm its July 5 Order, however, Plaintiffs would withdraw part of their opposition to the Stay
22   Motion, see ECF 181 at 6-12, given the Ninth Circuit’s Mandamus Order.
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       All ECF references are to numbers from the earliest filed case, Center for Biological Diversity
     v. Haaland, Case No. 4:19-cv-05206-JST.
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28   PLAINTIFFS’ NOTICE OF CHANGED POSITION
     Case No. 4:19-cv-06013-JST                        1
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 1         Respectfully submitted this 14th day of October, 2022.

 2
                                               ROB BONTA
 3                                             Attorney General of California
                                               DAVID A. ZONANA
 4                                             DAVID G. ALDERSON
                                               Supervising Deputy Attorneys General
 5
                                               /s/ George Torgun
 6                                             GEORGE TORGUN, State Bar No. 222085
                                               TARA MUELLER, State Bar No. 161536
 7                                             Deputy Attorneys General
                                               1515 Clay Street, 20th Floor
 8                                             P.O. Box 70550
                                               Oakland, CA 94612-0550
 9                                             Telephone: (510) 879-1002
                                               Email: George.Torgun@doj.ca.gov
10

11                                             MAURA HEALEY
                                               Attorney General of Massachusetts
12
                                               /s/ Matthew Ireland
13                                             TURNER SMITH (pro hac vice)
                                               Assistant Attorney General and Deputy Chief
14                                             MATTHEW IRELAND
                                               Assistant Attorney General
15                                             Office of the Attorney General
                                               Environmental Protection Division
16                                             One Ashburton Place, 18th Floor
                                               Boston, MA 02108
17                                             Telephone: (617) 727-2200
                                               Email: Matthew.Ireland@mass.gov
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28   PLAINTIFFS’ NOTICE OF CHANGED POSITION
     Case No. 4:19-cv-06013-JST                   2
              Case 4:19-cv-06013-JST Document 227 Filed 10/14/22 Page 4 of 5



                                                   BRIAN E. FROSH
 1                                                 Attorney General of Maryland
 2                                                 /s/ Steven J. Goldstein
                                                   STEVEN J. GOLDSTEIN (pro hac vice)
 3                                                 Special Assistant Attorney General
                                                   Office of the Attorney General
 4                                                 200 Saint Paul Place, 20th Floor
                                                   Baltimore, Maryland 21202
 5                                                 Telephone: (410) 576-6414
                                                   Email: sgoldstein@oag.state.md.us
 6
                                                   Attorneys for Plaintiffs
 7

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 9   * In compliance with Civil Local Rule 5-1(h)(3), the filer of this document attests that all
     signatories listed have concurred in the filing of this document.
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28   PLAINTIFFS’ NOTICE OF CHANGED POSITION
     Case No. 4:19-cv-06013-JST                       3
              Case 4:19-cv-06013-JST Document 227 Filed 10/14/22 Page 5 of 5




                                       CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on today’s date, I electronically filed the foregoing document with

 3   the Clerk of the Court using the CM/ECF system, which will send notification of this filing to the

 4   attorneys of record and all registered participants.
 5
     Dated: October 14, 2022                                /s/ George Torgun
 6                                                          GEORGE TORGUN (State Bar #222085)

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28   PLAINTIFFS’ NOTICE OF CHANGED POSITION
     Case No. 4:19-cv-06013-JST                        4
